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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Laura A Miller
                                           Plaintiff,
v.                                                         Case No.: 1:18−cv−04738
                                                           Honorable Edmond E. Chang
The French Pastry School LLC, et al.
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 10, 2018:


         MINUTE entry before the Honorable Edmond E. Chang: On Plaintiff's motion
[39] to dismiss the counterclaims or to stay them, there is no good reason to stay litigation
over the counterclaims. A stay would raise the risk of extending the litigation into two
artificial parts. So that aspect of the motion [39] is denied. Defendants' response to the
remainder of the motion is due by 10/29/2018. The reply is due by 11/13/2018. MID
disclosures on the counterclaims are due by 11/05/2018. Emailed notice(slb, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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